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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.


  SCOTCH & SODA E-COMMERCE
  LLC, a foreign limited liability company,

        Defendant.
  ___________________________________/

                                             COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant SCOTCH &

  SODA E-COMMERCE LLC, a foreign limited liability company , and alleges as follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This is also an action for declaratory and injunctive relief to prevent discrimination which

  includes equal access to internet Website for services to order and secure information about

  Defendant’s stores online. This is also an action for declaratory and injunctive relief to prevent the

  continuing act of trespass against the Plaintiff’s personal property (his personal computer), and for

  compensatory damages to Plaintiff for such trespass. Remedies provided under common law for

  trespass are not exclusive and may be sought in connection with suits brought under the ADA.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief
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  pursuant to 28 U.S.C. §§ 2201 and 2202. In addition, this Court has supplementary jurisdiction

  over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been visually disabled in that he suffers

  from optical nerve atrophy, a permanent eye disease and medical condition that substantially and

  significantly impairs his vision and limits his ability to see. Plaintiff thus is substantially limited

  in performing one or more major life activities, including, but not limited to, seeing and accurately

  visualizing his world and adequately traversing obstacles. As such, he is a member of a protected

  class under the ADA, 42 U.S.C. § 12102(1)-(2), the regulations implementing the ADA set forth

  at 28 CFR §§ 36.101, et seq., and in 42 U.S.C. §3602(h).

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available screen reader software.

         7.      Defendant is a foreign limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns and operates a nationwide chain of over

  200 retail stores selling to the public men’s, women’s, and children’s clothing and accessories,

  including a store location that Plaintiff intended to patronize located at 19501 Biscayne Boulevard,

  Aventura, Florida.




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         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet.      Because he is significantly and

  permanently visually disabled, in order to effectively communicate and comprehend information

  available on the internet and hereby access/comprehend Websites, Plaintiff uses commercially

  available screen reader software to interface with the various Websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns

  and operates a chain of Dutch retail stores selling to the public men, women’s, and children’s

  clothing and accessories under the brand name “Scotch & Soda”. Each Scotch & Soda is open to

  the public. As the owner and operator of these retail stores, Defendant is defined as a place of

  “public accommodation" within meaning of Title III because Defendant is a private entity which

  owns and/or operates “[A] bakery, grocery store, clothing store, hardware store, shopping center,

  or other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA and its

  implementing regulation; 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant controls, maintains, and/or operates an adjunct website called

  https://www.scotch-soda.com/us/en/home (hereinafter “Website”). One of the functions of the

  Website is to provide the public information on the various locations of Defendant’s stores that

  sell its merchandise throughout the United States and within the State of Florida. Defendant also

  sells to the public its merchandise and goods through the Website.




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         13.     The Website also services Defendant’s physical stores by providing information on

  its available products and branded merchandise, tips and advice, editorials, sales campaigns,

  events, and other information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to locate Defendant’s physical

  stores, purchase merchandise from Defendant that is also available for purchase or pick up in its

  physical stores, and sign up for an electronic emailer to receive offers, benefits, exclusive

  invitations, and discounts for use in the physical stores, the Website is an extension of, and gateway

  to, Defendant’s physical stores. By this nexus, the Website is characterized as an intangible

  service, privilege and advantage provided by a place of public accommodation as defined under

  the ADA and thus an extension of the services, privileges and advantages made available to the

  general public by Defendant through its brick and mortar locations and businesses.

         15.     Because the public can view and purchase Defendant’s merchandise that is also

  offered for sale by Defendant in its physical stores, and sign up for an electronic emailer to receive

  offers, benefits, exclusive invitations, and discounts for use in the physical stores, the Website is

  an extension of, and gateway to, the physical stores, which are places of public accommodation

  pursuant to the ADA, 42 U.S.C. § 12181(7)(E). As such, the Website is an intangible service,

  privilege and advantage of Defendant’s brick and mortar store locations that must comply with all

  requirements of the ADA, must not discriminate against individuals with visual disabilities, and

  must not deny those individuals the same full and equal enjoyment of the services, privileges and

  advantages afforded to the non-disabled general public both online and in its physical stores.

         16.     At all times material hereto, Defendant was and still is an organization owning and

  operating the Website. Since the Website is open to the public through the internet, by this nexus

  the Website is an intangible service, privilege and advantage of Defendant’s brick and mortar



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  stores that must comply with all requirements of the ADA, must not discriminate against

  individuals with visual disabilities, and must not deny those individuals the full and equal

  enjoyment of the services, privileges and advantages afforded to the non-disabled public both

  online and at the physical store. As such, Defendant has subjected itself and the Website to the

  requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize, Defendant’s physical stores (including the store located at 19501 Biscayne Boulevard,

  Aventura, Florida), and wanted to search, and did search online on the Website for the brick and

  mortar store locations, check store hours and pricing, purchase gift cards for use in the physical

  stores, check gift card balances, and sign up for an electronic emailer to receive offers, benefits,

  exclusive invitations, and discounts for use at the Website or in Defendant’s physical stores.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise and sign up for an

  electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use in the

  physical stores from his home are important accommodations for Plaintiff because traveling

  outside of his home as a visually disabled individual is often difficult, hazardous, frightening,

  frustrating and confusing experience. Defendant has not provided its business information in any

  other digital format that is accessible for use by blind and visually impaired individuals using the

  screen reader software.

         19.     Like many consumers, Plaintiff accesses numerous websites at a time to compare

  merchandise, prices, sales, discounts, and promotions. Plaintiff may look at several dozens of sites

  to compare features, discounts, promotions, and prices.

         20.     During the month of September 2019, Plaintiff attempted on a number of occasions

  to utilize the Website to browse through the merchandise and online offers to educate himself as



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  to the merchandise, sales, discounts, and promotions being offered, with the intent to making a

  purchase through the Website or at one of the Defendant’s stores.

         21.        Plaintiff utilizes available screen reader software that allows individuals who are

  visually disabled to communicate with company websites.               However, Defendant’s Website

  contains access barriers that prevent free and full use by visually disabled individuals using

  keyboards and available screen reader software. These barriers are pervasive and include, but are

  not limited to:

                    a. Mislabeled home button;

                    b. Inaccessible menu options;

                    c. Empty links; and

                    d. Site design sacrifice functionality with the screen reader.

         22.        The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.        Plaintiff attempted to locate an “Accessibility Notice” on the Website which would

  direct him to a webpage with content and contact information for disabled individuals who have

  questions, concerns, or who are having difficulties communicating with the Website. However,

  Plaintiff was unable to do so because no such link or notice was visible or available to Plaintiff on

  the Website at the time of his visit.

         24.        The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same online computer shopping experience,

  with access to the merchandise, sales, discounts, and promotions as provided at the Website and

  for use in the physical stores, as the non-visually disabled public.



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          25.     Plaintiff desires and intends to patronize Defendant’s physical stores and use the

  Website but is unable to fully do so as he is unable to effectively communicate with Defendant

  due to his severe visual disability and Defendant’s Website’s access barriers. Thus, Plaintiff, as

  well as others who are blind or with visual disabilities, will suffer continuous and ongoing harm

  from Defendant’s intentional acts, omissions, policies, and practices as set forth herein unless

  properly enjoined by this Court.

          26.     Because of the nexus between Defendant’s retail stores and the Website, and the

  fact that the Website clearly provides support and is connected to Defendant’s retail stores for its

  operation and use, the Website is an intangible service, privilege and an advantage of Defendant’s

  brick and mortar store that must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  enjoyment of the services, privileges and advantages afforded to the non-disabled public both on-

  line and at its physical locations, which are places of public accommodations subject to the

  requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.




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          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     On information and belief, Defendant has not created and instituted a Specialized

  Customer Assistance line or service or email contact mode for customer assistance for the visually

  disabled.

          35.     On information and belief, Defendant has not created and instituted on the Website

  a page for individuals with disabilities, nor displayed a link and information hotline, nor created

  an information portal explaining when and how Defendant will have the Website, applications,

  and digital assets accessible to the visually disabled or blind community.

          36.     On information and belief, the Website does not meet the Web Content

  Accessibility Guidelines (“WCAG 2.0”) 2.0 Level AA or higher of web accessibility.

          37.     On information and belief, Defendant has not disclosed to the public any intended

  audits, changes, or lawsuits to correct the inaccessibility of the Website to visually disabled

  individuals who want the safety and privacy of purchasing Defendant’s merchandise offered on

  the Website online from their homes.




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          38.     Thus, Defendant has not provided full and equal enjoyment of the services,

  facilities, privileges, advantages, and accommodations provided by and through the Website, in

  contravention of the ADA.

          39.     Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with disabilities such as Plaintiff.

          40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping websites, such as the Website.

          41.     On information and belief, Defendant is, and at all times has been, aware of the

  barriers to effective communication within the Website which prevent individuals with disabilities

  who are visually disabled from the means to comprehend information presented therein.

          42.     On information and belief, Defendant is aware of the need to provide full access to

  all visitors to the Website.

          43.     The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with disabilities who are visually disabled, including Plaintiff.

          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.




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          46.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

   U.S.C. §§ 2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case, and

   has agreed to pay them a reasonable fee for their services.

                                          Trespass Violations

          48.     Plaintiff utilizes his computer to access websites such as the Website.

          49.     Plaintiff uses his computer as a method of conveyance of his personal information.

   Plaintiff thus stores his personal information and retains his browsing history on his computer .

          50.     Throughout the Website, Defendant has placed forms of software to collect non-

   public information on the Website’s user’s preferences and internet browsing habits.

          51.      Defendant informs the Website user that the user’s personal information and

   browsing history is collected and is used for targeted marketing and advertising.

          52.     Because of his blindness, Plaintiff was unable to comprehend the Website;

   therefore, Plaintiff has had no choice, and likewise no knowledge, of Defendant’s installation of

   data and information tracking software and the collection of the Website user’s browsing history

   and analytics placed on the user’s computer.

          53.     Based upon the review of the Website, when a user accesses the Website, Defendant

   places software on the Plaintiff’s personal computer, without the user’s advance consent or

   knowledge. It is also clear that Defendant has used browser cookies to identify websites that

   Plaintiff has previously visited by accessing Plaintiff’s web browser history.

          54.     As such, through its Website, Defendant has committed a trespass against the

   Plaintiff, since the Website places information gathering software on the Plaintiff’s computer

   without Plaintiff’s knowledge or consent.



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                               COUNT I – VIOLATION OF THE ADA

          55.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          56.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA because it owns and/or operates the Website, as defined within §12181(7)(E) and is

   subject to the ADA.

          57.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to purchase merchandise, and sign up for an

   electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use at the

   physical stores. The Website thus is an extension of, gateway to, and intangible service, privilege

   and advantage of Defendant’s physical stores. Further, the Website also serves to augment

   Defendant’s physical stores by providing the public information on the various physical locations

   of the stores and by educating the public as to Defendant’s available merchandise sold through the

   Website and in its physical stores.

          58.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          59.     Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”



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          60.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

   discrimination also includes, among other things, “a failure to take such steps as may be necessary

   to ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          61.     Defendant’s Website must comply with the ADA, but it is not, as specifically

   alleged hereinabove and below.

          62.     Because of the inaccessibility of the Website, individuals with disabilities who are

   visually disabled are denied full and equal enjoyment of the information and services that

   Defendant has made available to the public on its Website, and at its physical stores, in violation

   of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

          63.     The Website was subsequently visited by Plaintiff’s expert in September 2019, and

   the expert determination was that the same access barriers that Plaintiff had initially encountered

   existed as of that date. Despite Defendant being a defendant in at olleast two prior ADA

   accessibility lawsuits, which likely resulted in confidential settlements that obligated Defendant to

   remediate the Website, Defendant has made no material changes or improvements to the Website,

   nor has it incorporated or displayed an accessibility policy on the Website to enable its full use,

   enjoyment and accessibility for visually disabled persons, such as Plaintiff. The Website thus

   continues to be, and is not, fully accessible to users who are blind and visually disabled, including,

   but not limited to, having the following access barriers:

                  a. Mislabeled home button;



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                   b. Inaccessible menu options;

                   c. Empty links; and

                   d. Site design sacrifice functionality with the screen reader.

   See, Expert Declaration and Curriculum Vitae of Robert D. Moody, attached as Composite Exhibit

   “A”.

           64.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           65.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           66.     There are readily available, well established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to the Defendant.

           67.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

   access to the Website by individuals, such as Plaintiff, with visual disabilities who requires the

   assistance of interface with screen reader software to comprehend and access internet websites.

   These violations within the Website are ongoing.

           68.     The ADA and ADAAA require that public accommodations and places of public

   accommodation ensure that communication is effective.



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          69.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          70.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          71.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          72.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          73.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website, with a nexus to its brick and mortar physical stores locations, Plaintiff has

   suffered an injury in fact by being denied full access to and enjoyment of Defendant’s Website

   and physical stores.

          74.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.



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          75.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief; including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a statement as to the Defendant’s

   policy to ensure persons with disabilities have full and equal enjoyment of the services, facilities,

   privileges, advantages, and accommodations through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by visually disabled users, and during that time period prior to the Website’s being

   readily accessible, to provide an alternative method for individuals with visual disabilities to access

   the information available on the Website until such time that the requisite modifications are made,

   and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual impairments will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical stores and locations, and becoming informed of and

   purchasing Defendant’s merchandise online, and during that time period prior to the Website’s

   being designed to permit individuals with visual disabilities to effectively communicate, to provide

   an alternative method for individuals with visual disabilities to effectively communicate for such

   goods and services made available to the general public through the Website.

          76.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.




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          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

              to monitor and update the Website on an ongoing basis, to remove barriers in order that

              individuals with visual disabilities can access, and continue to access, the Website and

              effectively communicate with the Website to the full extent required by Title III of the

              ADA;

          C. An Order requiring Defendant, by a date certain, to clearly display the universal

              disabled logo within the Website, wherein the logo 1 would lead to a page which would

              state Defendant’s accessibility information, facts, policies, and accommodations. Such

              a clear display of the disabled logo is to ensure that individuals who are disabled are

              aware of the availability of the accessible features of the Website;

          D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

              accessibility by implementing a website accessibility coordinator, a website application

              accessibility policy, and providing for website accessibility feedback to ensure

              compliance thereto;

          E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

              procedures toward persons with disabilities, for such reasonable time to allow

              Defendant to undertake and complete corrective procedures to its Website;




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        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to

           ensure the persons with disabilities have full and equal enjoyment of the Website and

           shall accompany the public policy statement with an accessible means of submitting

           accessibility questions and problems;

        K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

        L. Such other and further relief as the Court deems just and equitable.



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                                        COUNT II – TRESPASS

          77.     Plaintiff re-alleges paragraphs 1 through 54 as if set forth fully herein.

          78.     Plaintiff’s tangible personal property, being his computer          and the personal

   information and browsing history stored therein, has suffered a trespass by Defendant on each and

   every date that the Plaintiff has accessed Defendant’s Website, due to Defendant’s employment of

   software analytics which are present on and through the Website, which the Plaintiff has navigated.

          79.     At all relevant times, Plaintiff did not consent to and was unaware that the Website

   was placing software on his computer due to his inability to effectively communicate with and

   fully view and access the Website.

          80.     Plaintiff did not consent to the placement of tracking and information securing

   software on his computer ; therefore, Defendant has committed a trespass against Plaintiff by

   placing such software on his computer without his knowledge or consent.

          81.     By the acts described hereinabove, Defendant has repeatedly and persistently

   engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

   trespass.

          82.     Defendant’s installation, operation, and execution of software on Plaintiff’s

   computer have directly and proximately impaired the condition and value of the Plaintiff’s

   computer , thereby causing Plaintiff damages.

          83.     At the Website location, Defendant has a “Privacy Policy” that discusses the

   automatic gathering of information from, including the automatic placement of cookies and other

   information gathering software on, computers and computer s of users of the Website such as

   Plaintiff. A copy of that “Privacy Policy” is attached hereto as Exhibit “B” and its contents are

   incorporated herein by reference.



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          84.       Defendant’s trespass to chattels, nuisance, and interference has caused real and

   substantial damage to Plaintiff as follows:

          a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

   computer (including space, memory, processing cycles, and internet connectivity);

          b) By infringing on Plaintiff’s right to exclude others from his computer ;

          c) By infringing on Plaintiff’s right to determine, as the owner of his computer , which

   programs should be installed and operated on his computer ;

          d) By compromising the integrity, security, and ownership of Plaintiff’s computer ; and

          e) By forcing Plaintiff to expend money, time, and resources in order to remove the

   programs that had been installed on his computer without notice or consent.

          85.       Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

   disregard for Plaintiff’s rights under the law.

          WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

   Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

   and equitable.

          DATED: November 8, 2019.
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   By____s/ Roderick V. Hannah __                         By ___s/ Pelayo M. Duran ______
         RODERICK V. HANNAH                                     PELAYO M. DURAN
         Fla. Bar No. 435384                                    Fla. Bar No. 0146595




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